 Case 2:22-cv-00319-TOR           ECF No. 89     filed 09/23/24   PageID.1178      Page 1 of
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12                       UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
13
       NICHOLAS ROLOVICH,
14                                                        NO. 2:22-cv-00319
                     Plaintiff,
15

16            v.                                         PLAINTIFF’S
                                                         STATEMENT OF
17     WASHINGTON STATE                                  MATERIAL FACTS
       UNIVERSITY,                                       NOT IN DISPUTE
18
                     Defendant.
19

20

21

22

23

24   PLAINTIFF’S STATEMENT OF                                        LAW OFFICE OF BRIAN FAHLING
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     NO. 2:22-cv-00319-TOR                                                     (425) 802-7326
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     Case 2:22-cv-00319-TOR         ECF No. 89     filed 09/23/24   PageID.1179        Page 2 of
                                                 14


 1         A. Rolovich Consults with Religious Authorities and Reaches a Firm
              Conclusion about his Religious Duty
 2
              Plaintiff Nick Rolovich met Fr. Paul Heric, a Catholic priest and the Chaplain
 3
      at the St. Thomas More Catholic Cougs Student Center at WSU, in July 2021.
 4
      Kniffin Decl. Ex. A ¶¶ 2-3.
 5
              Over the summer of 2021, Rolovich came to count Fr. Paul as a friend and
 6
      someone he looked to for advice and encouragement. Kniffin Decl. Ex. A. ¶¶ 5–7.
 7
              Rolovich credits Fr. Paul with helping him reconnect with the Catholic faith
 8
      of his youth and grow closer to God. Kniffin Decl. Ex. A ¶ 8; Kniffin Decl. Ex. B at
 9
      6.
10
              As part of their conversations, Rolovich asked Fr. Paul for spiritual direction
11
      and advice as to what to do with the conflict and confusion he was feeling in
12
      response to pressure to receive a COVID-19 vaccine. Kniffin Decl. Ex. A ¶ 9.
13
              At first, Fr. Paul encouraged Rolovich to comply with WSU’s wishes and get
14
      vaccinated. Kniffin Decl. Ex. A ¶ 10, Ex. B. at 5.
15
              However, as Rolovich continued to share his thoughts and concerns with Fr.
16
      Paul, Fr. Paul told him that he needed to understand his decision about the vaccine in
17
      light of the Catholic Church’s teaching on the conscience. Kniffin Decl. Ex. A ¶ 11.
18
              When Rolovich told Fr. Paul he believed WSU would fire him unless he got a
19
      COVID vaccine, and that he was determined to follow what he understood as his
20
      religious obligation to decline, Fr. Paul responded,
21
              Ok. Then know you have my support. Your a man of great courage and
22            conviction.
23    Kniffin Decl. Ex. B at 12-13.
24
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     Case 2:22-cv-00319-TOR         ECF No. 89      filed 09/23/24      PageID.1180        Page 3 of
                                                  14


 1           Fr. Paul shared with Rolovich selections from the Catholic Catechism on the
 2    conscience and encouraged Rolovich to spend time with them. Kniffin Decl. Ex. A ¶
 3    12; Kniffin Decl. Ex. B at 19-20.
 4           Fr. Paul also shared with Rolovich moral guidance related to COVID-19
 5    vaccines developed by the Diocese of Spokane. Kniffin Decl. Ex. A ¶ 13, Ex. B at 5.
 6           Fr. Paul encouraged Rolovich to talk to his bishop, Bishop Daly, about how
 7    his Catholic faith related to my decision on the COVID vaccination. Kniffin Decl.
 8    Ex. A ¶ 14.
 9           At Fr. Paul’s prompting, Rolovich reached out to and spoke with Bishop
10    Daly. Rolovich wrote to Fr. Paul,
11           Talked with Bishop Daly today. He agreed to help. How God brought
             him back in my life is truly amazing. And you Father.
12
      Kniffin Decl. Ex. B. at 18.
13

14           Bishop Daly later released a public letter testifying that he had known

15    Rolovich in various capacities and that he saw Rolovich’s growing relationship with

16    Fr. Paul “as an expression of a renewed commitment to his relationship to God and

17    the Church.” Kniffin Decl. Ex. C.

18           Bishop Daly concluded his letter,

19           Finally, I write this letter to shed light on one man's life of faith. I realize
             this is not easily explained nor often appreciated in the secular society
20           and time in which we live. However, I believe Nick Rolovich is a man
             of faith who sincerely tries to live his life in a manner that seeks God's
21           will. In time, I hope others will also see this important aspect of Nick's
             life.
22

23
      Kniffin Decl. Ex. C.

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     Case 2:22-cv-00319-TOR       ECF No. 89     filed 09/23/24    PageID.1181         Page 4 of
                                               14


 1          It was through Fr. Paul’s counsel and through Rolovich’s study of the
 2    Catholic materials that Fr. Paul provided him that Rolovich came to understand that
 3    he had a religious obligation as a Catholic to follow his conscience and decline to
 4    take a COVID vaccination. Kniffin Decl. Ex. A ¶ 16.
 5          On several occasions, Fr. Paul encouraged and prompted Rolovich to submit a
 6    request for religious exemption to WSU. Kniffin Decl. Ex. A ¶ 17; Kniffin Decl. Ex.
 7    B at 24, 31, 34.
 8          Fr. Paul continues to be a friend and mentor that Rolovich relies on for
 9    spiritual direction and encouragement. Kniffin Decl. Ex. A ¶ 18.
10       B. Rolovich Informs Chun of Intent to File for Religious Exemption
11          On August 19, 2021, the day after Governor Inslee announced a new COVID-
12    19 vaccine mandate that covered WSU employees, Rolovich told WSU Athletics
13    Director Pat Chun (“Chun”) that he intended to seek a religious exemption from the
14    new mandate. Kniffin Decl. Ex. D at 4.
15          In an email to the Board of Regents, WSU President Kirk Schulz
16    acknowledged that the Rolovich “situation has made many of our alumni, fans,
17    supporters, and employees angry, embarrassed, and eager for the administration (and
18    me personally) to show some leadership.” Kniffin Decl. Ex. D at 3.
19       C. Rolovich Applies for Religions Exemption
20          On October 4, 2024, Rolovich submitted his request for a religious exemption

21    to WSU’s Human Resource Services (HRS) office. Kniffin Decl. Ex. E at 3 et seq.

22          Rolovich’s request for a religious exemption was based on a form letter

23    prepared by the National Catholic Bioethics Center (NCBC), which he modified.

24    Kniffin Decl. Ex. F ¶ 13.
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     Case 2:22-cv-00319-TOR       ECF No. 89      filed 09/23/24    PageID.1182        Page 5 of
                                                14


 1          The stated purpose of Rolovich’s request was to “explain[] why [his] sincerely
 2    held religious beliefs prohibit [him] from accepting the vaccine, and why [he was]
 3    compelled to do so by the teachings of the Roman Catholic Church.” Kniffin Decl.
 4    Ex. E at 7.
 5          Rolovich’s request articulated two separate religious grounds for his
 6    exemption request. First, Rolovich’s request states, “An individual Catholic may
 7    invoke Church teaching to refuse a vaccine developed or produced using abortion-
 8    derived cell lines.” “The Roman Catholic Church teaches that I am required to refuse
 9    a medical intervention, including a vaccination, when my conscience has come to
10    sure judgment that, as in this case, accepting the vaccine will make me complicit in
11    the abortions that produced the human cell lines from which currently available
12    vaccines are ultimately derived.” Kniffin Decl. Ex. E at 7.
13          Second, Rolovich’s request states that “a Catholic might refuse a vaccine
14    based on the Church’s teaching concerning therapeutic proportionality. Therapeutic
15    proportionality is an assessment of whether the benefits of a medical intervention
16    outweigh the undesirable side-effects and burdens in light of the integral good of the
17    person, including spiritual, psychological, and bodily goods. It can also extend to the
18    good of others and the common good, which likewise entail spiritual and moral
19    dimensions and are not reducible to public health.” Kniffin Decl. Ex. E at 7.
20          Rolovich’s request also states, “While my Bishop encourages vaccines, he
21    also confirms that at the core of the Church’s teaching are the first and last points
22    listed above: vaccination is not a universal obligation, and a person must obey the
23    judgment of his or her own informed and certain conscience.” Kniffin Decl. Ex. E at
24    7.
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     Case 2:22-cv-00319-TOR       ECF No. 89     filed 09/23/24    PageID.1183       Page 6 of
                                               14


 1           Rolovich’s request also states, “Because I have come to an informed and sure
 2    judgment in conscience that I must not receive the vaccine, the Catholic Church
 3    requires that I follow this certain judgment of my conscience.” Kniffin Decl. Ex. E at
 4    8.
 5           Rolovich supplemented his request with detailed references to the Catechism
 6    of the Catholic Church, the Second Vatican Council, a document from the Vatican’s
 7    Congregation for the Doctrine of the Faith entitled “Note on the Morality of Using
 8    some Anti-COVID-19 Vaccines,” and a document from United States Conference of
 9    Catholic Bishops Conference entitled “Ethical and Religious Directives for Catholic
10    Health Services, 6th ed.” Kniffin Decl. Ex. E at 9.
11         D. Details regarding WSU’s Review Process
12           An article published in the WSU Insider on October 8, 2021, describes the
13    process that WSU had established to review employees’ requests for religious
14    exemptions from the Governor’s vaccine mandate. Kniffin Decl. Ex. G.
15           The WSU Insider article states, “For employees, the exemption requests go
16    through a two-step process. The first is the blind review,” “meaning the identities of
17    the individuals of the individuals requesting exemptions are unknown to the
18    members of the review committee except in instances when additional information is
19    needed through follow-up contact.” Kniffin Decl. Ex. G at 4.
20           The WSU Insider article states, “Employee religious requests are reviewed by
21    a committee consisting of a team from WSU’s Human Resource Services as well as
22    the university’s Office of Civil Rights and Compliance.” Kniffin Decl. Ex. G at 4.
23           The WSU Insider article states, “The Washington Attorney General’s Office
24    is being consulted on criteria WSU is using to decide the exemption requests and
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     Case 2:22-cv-00319-TOR         ECF No. 89     filed 09/23/24   PageID.1184       Page 7 of
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 1    providing legal advice to both [the religious exemption request review committee
 2    and the medical exemption request review committee] as needed.” Kniffin Decl. Ex.
 3    G at 4.
 4            The WSU Insider article states, “Then, if an exemption is approved, the
 5    request moves to a separate accommodation review step where a determination is
 6    made whether the unvaccinated employee will be able to perform their duties
 7    without risking the health and safety of the community.” Kniffin Decl. Ex. G at 4.
 8            The WSU Insider Article states, “Employees are provided the opportunity to
 9    supply additional information before final decisions are made.” Kniffin Decl. Ex. G
10    at 4.
11            This same review process was also explained in an article written by
12    sportswriter Jon Wilner, for which WSU President for Communications Phil Weiler
13    was interviewed. Kniffin Decl. Ex. H.
14              According to the Wilner article, “The blind review was designed to create
15    fairness for employees across all WSU campuses, regardless of position or salary.”
16    Kniffin Decl. Ex. H at 2.
17            According to the Wilner article, “If the exemption request were approved via
18    the blind process, then his supervisor, athletic director Pat Chun, would determine if
19    Rolovich could carry out his duties effectively and keep the public safe.” Kniffin
20    Decl. Ex. H at 3.
21

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     Case 2:22-cv-00319-TOR        ECF No. 89      filed 09/23/24   PageID.1185      Page 8 of
                                                 14


 1       E. Washington State Human Resources’ Guidance on Evaluating Religious
            Accommodation Requests
 2
             WSU’s religious exemption review committee also relied on a document
 3
      provided through the State Human Resources (SHR) division, entitled “Guidance on
 4
      Evaluating Religious Accommodation Requests. Kniffin Decl. Ex. I.
 5
             This Guidance advises that “[w]hen reviewing [a] request [for religious
 6
      exemption,] the agency should follow these abiding principles:
 7
             • Presume a religious belief to be sincerely held.
 8
             • Be cognizant that religious beliefs are not static and are susceptible
 9
               to change over the course of a person's life.
10
             • Remember the fact that an individual is not a frequent observer of
11             their faith or had not previously made their faith public does not
               necessarily limit its sincerity.”
12
      Kniffin Decl. Ex. I at 4, ¶ 2.
13
             This Guidance also notes that under “[f]ederal guidance on religious
14
      accommodation,” an employer “should review the request on its own merits” and
15
      “initiate discussion with the employee about whether an employee’s religious belief
16
      is sincerely held.” Kniffin Decl. Ex. I at 4–5, ¶ 4.
17
             The end of the Guidance includes, under “Resources,” a link to Section 12 of
18
      the U.S. Equal Employment Opportunity Commission’s (EEOC) Compliance
19
      Manual, Religious Discrimination, available at
20
      https://www.eeoc.gov/laws/guidance/section-12-religious-discrimination. Kniffin
21
      Decl. Ex. I at 7.
22
             The Guidance’s “Resources” section also links to the EEOC’s Technical
23
      Guidance, “What You Should Know About COVID-19 and the ADA, the
24
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     Case 2:22-cv-00319-TOR        ECF No. 89     filed 09/23/24   PageID.1186         Page 9 of
                                                14


 1    Rehabilitation Act, and Other EEO Laws,” available at
 2    https://www.eeoc.gov/wysk/what-you-should-know-about-covid-19-and-ada-
 3    rehabilitation-act-and-other-eeo-laws. Kniffin Decl. Ex. I at 7.
 4       F. WSU Review Committee Approves Rolovich Exemption Request
 5           On October 6, HRS notified the Athletics Department that WSU’s review
 6    committee had “engaged in a good faith review” of Rolovich’s application and had
 7    concluded that his exemption request was “based on a sincerely held religious
 8    belief.” Kniffin Decl. Ex. J at 3.
 9       G. WSU Athletics Department Challenges Review Committee’s
            Determination
10
             On October 13, the Athletics Department submitted a letter to HRS
11
      challenging the review committee’s conclusion that Rolovich’s exemption request
12
      was based on a sincere religious belief. Kniffin Decl. Ex. K.
13
             That letter claimed that “Rolovich has made several statements that cast doubt
14
      on his claimed sincerely held religious belief.” Kniffin Decl. Ex. K at 5.
15
             That letter concludes, “In sum, throughout the multiple individual and group
16
      meetings, Rolovich made it clear that he refused to be vaccinated based on the
17
      conclusions he reached through his own research, he only mentioned religion after
18
      the Governor issued the Proclamation requiring vaccination, and then only
19
      mentioned religion in reference to seeking an exemption from the vaccination
20
      requirement. We believe these facts support re-evaluation of the claimed sincerely
21
      held religious belief.” Kniffin Decl. Ex. K at 6.
22
             When HRS employee Bonnie Dennler received this memorandum, she
23
      promptly notified legal counsel. Kniffin Decl. Ex. L at 95:15-19.
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     Case 2:22-cv-00319-TOR       ECF No. 89    filed 09/23/24    PageID.1187        Page 10
                                            of 14


 1         Any conversations that HRS had regarding Rolovich’s request for a religious
 2   exemption request between the time HRS received this October 13 memorandum
 3   from the Athletics Department and when WSU gave Rolovich “Written Notice of
 4   Intent to Terminate for Just Cause” were conducted in the presence of legal counsel.
 5   Kniffin Decl. Ex. L at 108:22-111:24.
 6         WSU’s “review committee did not request additional information from
 7   Plaintiff regarding his asserted religious objection to the COVID-19 vaccines
 8   between the time he submitted materials in support of his religious accommodation
 9   request on October 3, 2021, and when WSU denied his request on October 18,
10   2021.” Kniffin Decl. Ex. M at 6.
11      H. WSU Gives Rolovich “Written Notice of Intent to Terminate for Just
           Cause”
12
           On October 18, Rolovich received an email from HRS stating that his request
13
     for a religious exemption had been denied. That email states in part, “Based on your
14
     comments, in conjunction with the timing of your request for a religious
15
     accommodation, the University questions the assertion that your sincerely held
16
     religious views conflict with the University’s vaccine requirement.” Kniffin Decl.
17
     Ex. N at 3.
18
           Moments later, Chun hand delivered to Rolovich a letter giving him “Written
19
     Notice of Intent to Terminate for Just Cause,” which said that his “failure to comply
20
     with the vaccination requirement . . . rendered [him] legally unable to perform [his]
21
     duties as Head Coach,” said his “personal decision to forego a COVID-19
22
     vaccination” amounted to a “deliberate and serious violation[]” of his contractual
23
     duties. Kniffin Decl. Ex. O at 3-4.
24
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     Case 2:22-cv-00319-TOR       ECF No. 89    filed 09/23/24      PageID.1188         Page 11
                                            of 14


 1      I. WSU Denies Rolovich’s Administrative Appeals
 2          On November 2, pursuant to Paragraph 4.3 of his employment agreement,
 3   Rolovich appealed WSU’s “Written Notice of Intent to Terminate for Just Cause” to
 4   Chun. ECF 29 at 27 et seq.
 5          On November 12, Chun rejected Rolovich’s appeal. Part of Chun’s letter
 6   provides detail regarding “the University’s decision that you do not have a sincerely
 7   held religious belief that conflicts with the University’s vaccine requirement”:
 8          Prior to the Governor’s proclamation, and since the beginning of the
            pandemic, you openly and freely expressed your opposition to the
 9          vaccine and other COVID-19 mitigation efforts on numerous occasions
10          to numerous people, citing your own “scientific” research and making
            statements mirroring several specific online conspiracy theories, which
11          included demonstrably false claims. In addition, at no point did you ever
            mention any religious concerns (ex: regarding fetal tissue). Therefore,
12          your current claim that your private, unexpressed concerns were actually
            religious in nature is simply not credible. Your statement that you and
13
            some of your staff had unsuccessfully tried to secure documentation for
14          a medical exemption undermines your claim. Only after it became clear
            that a religious exemption was your only other option did you claim to
15          have religious beliefs that conflict with the vaccine requirement. It is
            understandable that you would want the University's review to exclude
16
            information regarding your own prior statements in Its decision;
17          however, under EEOC Guidance, these are appropriate considerations,
            and your assertion to the contrary is false. Further, under EEOC
18          Guidance, personal or philosophical beliefs do not give an individual a
            basis to claim a religious exemption.
19
     Kniffin Decl. Ex. P at 5.
20
            On November 26, Rolovich filed a second administrative appeal to President
21
     Kirk Schulz. ECF 29 at 11 et seq.
22
            On December 6, President Schulz responded to Rolovich’s appeal by letter.
23
     That letter said in part, “The record in the written materials establishes that the
24
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     Case 2:22-cv-00319-TOR       ECF No. 89    filed 09/23/24      PageID.1189        Page 12
                                            of 14


 1   University had a legitimate basis to question whether you have a sincerely held
 2   religious belief, practice, or observance that conflicts with the vaccination
 3   requirement.” Kniffin Decl. Ex. Q at 4.
 4         President Schulz’s letter ends, “In conclusion, your appeal is denied. Under
 5   Paragraph 4.3 of the Agreement, this is the final decision of the University.” Kniffin
 6   Decl. Ex. Q at 5.
 7      J. WSU Expert Reports
 8         The Expert Report of Renee DiResta, prepared for Defendant WSU in this
 9   matter, concludes:
10         Based on the above, it is my opinion that Mr. Rolovich indeed harbored
           significant reservations about being vaccinated for COVID-19, but the
11         concerns he expressed in the private messages that I observed between
12         him and his close associates throughout this period fall into the realm of
           safety concerns and conspiracy theories, rather than religious objections
13         to vaccination.

14   Kniffin Decl. Ex. R ¶ 53.
15         The Expert Report of M. Theresa Lysaught, prepared for Defendant WSU in
16   this matter, concludes:
17         Thus, in my opinion, to conclude that a baptized Catholic could be
           “required” as a Catholic to refuse COVID-19 vaccination requires a
18         significant distortion, misunderstanding, or misrepresentation of
19
           Catholic teaching.

20   Kniffin Decl. Ex. F ¶ 88.

21

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     Case 2:22-cv-00319-TOR    ECF No. 89    filed 09/23/24     PageID.1190        Page 13
                                         of 14


 1      DATED this 23rd day of September 2024.
 2
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 3
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                                          Attorneys for Plaintiff
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     Case 2:22-cv-00319-TOR       ECF No. 89    filed 09/23/24       PageID.1191       Page 14
                                            of 14


 1                                  CERTIFICATE OF SERVICE
 2
        I hereby certify that on the 23rd day of September 2024, I electronically filed the
 3
     forgoing MOTION FOR PARTIAL SUMMARY JUDGMENT with the Clerk of
 4
     Court using the CM/ECF System, which in turn automatically generated a Notice of
 5
     Electronic Filing (NEF) to all parties in the case who are registered users of the
 6
     CM/ECF system. The NEF for the foregoing specifically identifies recipients of
 7   electronic notice. I hereby certify that none of the represented parties are non-
 8   CM/ECF participants.
 9                                            By: /s/ E. Job Seese
10
                                                 E. Job Seese

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